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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF OREGON
                                 EUGENE DIVISION

Elizabeth HUNTER; et al.,
                                                                   Case No. 6:21-cv-00474-AA
                              Plaintiffs,
                                                                   DECLARATION OF PAUL
                                       v.
                                                                   CARLOS SOUTHWICK
                                                                   ISO SUPPLEMENTAL
DEPARTMENT OF EDUCATION; and Catherine
                                                                   BRIEF OF NEWLY
LHAMON, in her official capacity as Assistant Secretary for        DISCOVERED FACTS
the Office of Civil Rights, U.S. Department of Education,

                              Defendants,

COUNCIL FOR CHRISTIAN COLLEGES &
UNIVERSITIES, WESTERN BAPTIST COLLEGE
d/b/a CORBAN UNIVERSITY, WILLIAM JESSUP
UNIVERSITY AND PHOENIX SEMINARY,

                              Intervenor-Defendants.


I, Paul Carlos Southwick, declare:

1. I am over 18 years of age and have personal knowledge of the matters stated in this declaration

                                                                                                     1
DECLARATION OF PAUL CARLOS SOUTHWICK
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   and would testify truthfully to them if called upon to do so.

2. Attached as Exhibit A is a research brief published by The Trevor Project on September

   28, 2022, entitled "Suicide Risk and Access to Care Among LGBTQ College Students."

3. Attached as Exhibit B is a report by the Trevor Project entitled "2022 National Survey on

   LGBTQ Youth Mental Health."

4. Attached as Exhibit C is a USA Today news article entitled "Christian Florida School

   Tells Parents Gay and Transgender Students Must 'Leave Immediately," published

   September 20, 2022.

5. Attached as Exhibit D is a Fox News.com article entitled "BYU Removes Pamphlets

   Advertising Off-campus LGBTQ Resources from New Student Bags," published

   September 4, 2022.

6. Attached as Exhibit E is a news article published by Insight into Diversity entitled

   "Samford University Rejects Formation of LGBTQ+ Law Student Group," published

   October 25, 2022.

7. Attached as Exhibit F is an amicus brief filed by Ilan H. Meyer, PhD, and other social

   scientists and legal scholars in 303 Creatives and Lorie Smith v. Aubrey Elinis, et al., filed

   August 30, 2022.

8. Attached as Exhibit G is a report by Eric Kaufmann for the Center for the Study of

   Partisanship and Ideology entitled, "Diverse and Divided: A Political Demography of

   American Elite Students, Report No. 7," published October 3, 2022.

9. Attached as Exhibit H are compiled documents comprising 1) a request for assurance of

   religious exemption submitted to the Office for Civil Rights (OCR) by La Sierra

   University on June 10, 2022 in response to an investigation launched by OCR on May 3,

   2022 into allegations of discrimination in violation of Title IX included in OCR Case No.
                                                                                                    2
DECLARATION OF PAUL CARLOS SOUTHWICK
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   09-21-2314, which was filed by plaintiffs' counsel on behalf of Cameron Martinez on July

   27, 2021, 2) a letter from OCR to La Sierra University, dated July 20, 2022, granting

   assurance of religious exemption to the provisions of Title IX pertinent to the

   investigation, and 3) a letter from OCR to plaintiffs' counsel, dismissing said allegations

   of discrimination on the basis of lack of jurisdiction resulting from the assurance of

   religious exemption granted.

10. Attached as Exhibit I are compiled documents: 1) a letter submitted by Colorado

   Christian University (CCU) to OCR on May 3, 2022, in response to an investigation

   launched by OCR on April 8, 2022, into allegations of discrimination included in OCR

   Case No. 8-21-2214, which was filed by plaintiffs’ counsel on behalf of Journey Mueller

   on August 3, 2021. In the letter, CCU asserted its religious exemption from certain

   provisions of Title IX and requested dismissal of the case. 2) A letter from OCR to

   Colorado Christian University dated July 20, 2022, confirming its prior assurance of

   religious exemption to certain provisions of Title IX.

11. Attached as Exhibit J are selected, compiled public comments in response to the U.S.

   Department of Education’s notice of proposed rulemaking, submitted by groups and

   individuals in August and September of 2022 and made public by the Department

   between September and November 2022.



    Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true and

correct, and that this declaration was executed this 14th day of November, 2022.


                                            By: s/Paul Carlos Southwick
                                            Paul Carlos Southwick



                                                                                                     3
DECLARATION OF PAUL CARLOS SOUTHWICK
